Case 3:17-cv-00939-WHA Document 201-3 Filed 04/10/17 Page 1 of 34




                  EXHIBIT D
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page1
                                                        Pageof2 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page2
                                                        Pageof3 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page3
                                                        Pageof4 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page4
                                                        Pageof5 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page5
                                                        Pageof6 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page6
                                                        Pageof7 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page7
                                                        Pageof8 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page8
                                                        Pageof9 33
                                                                of 34
Case 3:17-cv-00939-WHA Document
   Case3:12-cv-00412-WHA        201-3 Filed04/24/12
                         Document38    Filed 04/10/17 Page9
                                                       Page of
                                                            1033
                                                               of 34
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page10
                                                        Page 11 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page11
                                                        Page 12 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page12
                                                        Page 13 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page13
                                                        Page 14 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page14
                                                        Page 15 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page15
                                                        Page 16 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page16
                                                        Page 17 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page17
                                                        Page 18 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page18
                                                        Page 19 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page19
                                                        Page 20 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page20
                                                        Page 21 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page21
                                                        Page 22 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page22
                                                        Page 23 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page23
                                                        Page 24 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page24
                                                        Page 25 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page25
                                                        Page 26 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page26
                                                        Page 27 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page27
                                                        Page 28 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page28
                                                        Page 29 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page29
                                                        Page 30 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page30
                                                        Page 31 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page31
                                                        Page 32 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page32
                                                        Page 33 of 34
                                                             of 33
Case 3:17-cv-00939-WHA Document
  Case3:12-cv-00412-WHA         201-3 Filed04/24/12
                        Document38      Filed 04/10/17Page33
                                                        Page 34 of 34
                                                             of 33
